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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------------X
                                                              :
 US AIRWAYS, INC., FOR AMERICAN                               :
 AIRLINES, INC., AS SUCCESSOR AND REAL :
 PARTY IN INTEREST,                                           :      11 Civ. 2725 (LGS)
                                              Plaintiff,      :
                                                              :           ORDER
                            -against-                         :
                                                              :
 SABRE HOLDINGS CORPORATION, ET AL., :
                                              Defendants. :
                                                              :
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LORNA G. SCHOFIELD, District Judge:

        WHEREAS, on June 23, 2023, Plaintiff filed a motion for attorneys’ fees.

        WHEREAS, the parties remain actively engaged in productive settlement discussions and

accordingly have requested several extensions of the briefing schedule. It is hereby

        ORDERED that Plaintiff’s motion for attorneys’ fees is DENIED without prejudice to

renewal. Plaintiff may refile its motion when and if settlement negotiations break down after

filing a letter advising the Court of Plaintiff’s intent to renew the motion. The parties may rely

on prior filings in connection with the renewed motion without the need to refile in full.

Dated: February 6, 2024
       New York, New York
